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  BRANDI      K SToK1s, Esq.                                                      2020JAN30       MII:i45
        Attorney at   Law                                                       bra'ktokes.org            -




P0 Box 301916                                                                Tel (512)206-0202        f
Austin, Texas 78703                                                   brandi.stokesgiiia1Lcoñi'-
                                         January 30, 2020

District Judge Robert Pitman
501   W5thSt#1100
Austin, TX 78701

Re:     W.D. Tex. Case No. # 1 :20-CV-0089-RP; Disqualification and Voir Dire

Dear Hon. Judge Pitman:
         Please forward the Motion to Disqualify District Judge Robert Pitman and Magistrate
Judge Mark Lane to an appropriate member of the judiciary. While Judge Lane has made much
ado over the fact that I am a licensed attorney, I am not licensed in federal court and do not know
the disqualification procedure. When you forward the motion, please let the receiving judge know
that one of the things that you have failed to do is to contact the International Committee of the
Red Cross.
         While it is most disappointing that a judge with your education and background would
continue to mishandle a case of this magnitude, my disappointment will not hinder my resolve to
report you and your friend to proper authorities. It is my hope that you are both working with law
enforcement. If the event that you are working with law enforcement, please understand that the
Federal Bureau of Investigation is not a proper authority. Any agreement to provide you with
immunity will not be considered valid in a court of competent jurisdiction. Furthermore, there is
no investigative value in keeping this going.
         Even should you and your friend decide to disqualify yourselves without a hearing, it
would be beneficial for both of you to sit for the voir dire that I have requested. Any cooperation
would be appreciated and will also be reported to proper authorities with a request for leniency.

                                              Sincerely,




                                              Brandi K Stokes

cc: Judith Gres DeBerry via CMRRR
